Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 1 of 12

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUl\/[BIA

 

JUDICIAL WATCH, [NC., ]
)
Piainarr, )
)
v. )

) Civ. A. NO. ltll-CV-00349-RJL

UNITED STATES AlR FORCE, ) Judge chhard J. Lcon

)
Defendant. )
)

 

DECLARATION OF THEODORE C. MARTIN

I, Theodore C. Martin, hereby declare as follows:

l. l am employed as a Freedom of Inforrnation Act (“FOIA”) Disclosure Officer
With the Inforrnation Managernent Oftice Within the Headquarters of the U.S. Air Force (“Air
Force”). I vvas responsible for processing a request under FOIA made by Judicial Watch, Inc. to
the Air Force by letter dated November 9, 2010. Accordingly, l have personal knowledge of the
facts herein

2. l have been employed as a FOIA Disclosure Ofiicer With the Air Force’s
Headquarters for approximately four months. Pn`or to that, l spent approximately two years
working -as a FOIA Disclosure Ofiicer for the Department of Homeland Security and
approximately three and a half years Working as a FOIA Disclosure Ofiicer for the Air Force’s
Air Cornbat Cornrnand. ln my current position, my primary responsibilities include reviewing
requests for information received under FOLA and coordinating the Air Force’s response to such
requests

3. ln the course of performing my duties, l learned that the Air Force had received a

letter, dated November 9, 2010, from Mr. Tegan Millspaw, on behalf of Judicial Watch,

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 2 of 12

requesting documents under FOIA. Speciiically, the FOIA request sought the following records:
(l) “[a]ll mission taskings for Senate Majority Leader Harry Reid’s travel”; (2) “[a]ll records of
costs of operating military aircraft for Majority Leader Harry Reid’s travel”; (3) “[a]ll passenger
manifests (DD-2131) for l\/[aj ority Leader Harry Reid (including both domestic and international
travel)”; and (4) “[a]ll travel reports for Maj ority Leader Harry Reid” from January 2007 to the
present The FOlA request also sought a waiver of both search and duplication fees pursuant to
5 U.S.C. § 552(a)(4)(A)(ii)(Il) and 5 U.S.C. § 552(a)(4)(A)(iii). A true and correct copy of
Judicial Watch’s November 9, 2010 FOIA request is attached as Exhibit l.

4. On December 16, 2010, I sent, via first-class U.S. mail, a letter to l\/lr. Millspaw
acknowledging the Air Force’s receipt of Judicial Watch’s FOIA request. A true and correct
copy of the December 16, 2010 acknowledgment letter is attached as Exhibit 2.

5 . On January ll, 2011, l sent, via iirst-class U.S. mail, a letter to Mr. Millspaw
responding in full to J udicial Watch’s FOIA request. The letter informed J udicial Watch that Air
Force staff had “conducted a comprehensive search of files Within the Air Force Administrative
Assistant Office and the Offlce of the Legislative Liaison” and had been “unable to locate or
identify any responsive records.” The letter stated that Air Force was waiving the fees associated
with processing its request and also informed Judicial Watch of its right to file an administrative
appeal by writing to the Secretary of the Air Force within sixty days. A true and correct copy of
the Air Force’s J'anuary 117 2011 response letter is attached as Exhibit 3.

6. As of the date of this declaration, Judicial Watch has not administratively
appealed the Air Force’s determination that it was unable to find any records that would be

responsive to J udicial Watch’s FOlA request.

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 3 of 12

l declare under penalty of perjury that the foregoing is true and correct Executed on this [ ; ‘d"

day of March, 2011.

 

 

' '-¢iore C. Martin

UJ

 

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 4 of 12

EXHIBIT l

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 5 of 12

 

Beca.use no imm
is above the la'w.’

 

member 9, 2010
via CF,RTIFIEI) MA;:'L a F.ACSIMILE

Secretary ofthe Air vForce
Headquarters Air PorceZICIO (FOIA)
1000 Air Force `Pentagon
Wasliington, DC 20330~1000`

Fax: (703) 693-2746

Re: Freedom of Information..Act Request
Dear Fre_e'dorn` of liiformation Oftice`r:

P-ursuant to the provisions of the Freedom of lnfoimation Act (FOI A) 5 U S_. C. §
552, Judicial Watch Inc. he1eby requests that the U S A-ii Force produce the following
within twenty (20) business days;

v 1) All mission taskirigs for Senate Majorit_y header Harr.y Reid’s travel.

2)` Ali records of costs of operating military aircraft for Maj orityv Leader .Harr_y
Reid’s travei b

3) A`ll passenger manifests (DD-213 l) for Majority L'eader Hari y Reid
v(inclucling both domestic and inteiiiationaf_ tiav el)

4) All` travel reports for j`Maj ori'ty‘Leader 'I-iar`.‘i'y Reid.
`1_"11e time frame for this request is from flannery 2007 to pi'esent,'

We call youi attention to Piesident Obama s Jaiiuai'y_21, 2009 Me_moiandum
concerning the Freedom 01 lnt`ormation Act in which he states:

All agencies should adopt apresurnpti'on in favor<o.f
disclosure in order to renew their commitment to the
principles embodied in -FOIA.. The piesum_ptiori of

_ disclosure should be apphed to all decisions involving
1 z ’ roiA '

 

l Pres'ident iBarack-'Obama,,“Meniorandum for the Heads of Execntive Deparnnems and Agelicies? Sub_§ect:

 

425'.{1111£1$1 SW Siiite 800 \Vasliington, DC 2002~’1 Tet: (202) 646- 5172 or} 838*593~8442_
11\>£:(202) 646 5 919<"131111111;iiifo{r_i;§`.ludicialWatch.oig ~ ww\\ Judicial‘y‘\’z.itchorg `

 

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 6 of 12

,P,age 2 of 3

iP-i'esident Obania acids that “'l`lie Freed`om oi`ln'i`o'nnation Act should be administered
with a cleai piesuinption: 'ln the case ot`doubt openness pre\'.ails "" ’Nevertheless ifany

riesponsnc iecoid or poition thereof rs claimed to be exempt from piodiicti_o_n undei

l OL 18 please pins ide sufficient identifying information with zespect to each alle<icdl\
exempt iecoid or portion thereof to allow us to assess the piopriet\-' of it ie claimed
exemption l/'r'zzzg!z)z 1>. .Ros',en 484 l.~" 2d 820 (D. C Cii‘. li97 3,) ceit denied 4l 5 l; 8. 977
(197.4) ln addition amf teasonabl) senie¢)ab.lc portion ot a iesponsi\ e iecotd must be
provided aftei iedaction ofanya allegele exempt material 5 ii S. C § 552(b)

judicial 911 at 11 also lieteb§ ieqnests a n ai\. et o;t' b0 0111 se-.ich and duplication fees
pnisnant to 5 U S. C § 552(a)(4)(A)(11)(il) and 5 U. S. C. § 552(21 a)(4)(_`A)(iii3. l udicial
\Vatclz is entitled to a waiv'ei of scai ch fees :.undei 5 ll 8. C § 552(211)(_4)(.»'-\1)(i'i)(ll) because
it is atnernbei 01 the news media 8ce1\ati'0)zct_/ tScculiI)/A)chz've 'v 658 Dte/)rt/'Iiiic>/?t of
Dt>feme 880 F 2d 1381 l387(D.C.Ci_1 l989) intact Judicial \?\ atcli_ has been
liec‘-.ognizec_l as a member of the news media in othei l Ol A litigation 8ee judicial li cr!c71,
line v U 15 Depmfmem‘ of fusiiee 1133 F Sup`p 2d 52 (fD D C 2000); and Judicial
ill/arch J'nc. 11 Dep i()chfcnse 2006 U 8. Dist. LEXl8 44003 "l (D D C; lone 28
2006) Judicial Watclh inc iegnlady obtains 1111`01 m'nion about the opeiations and
activities of goveinment through l`OlA and other ineans. uses its editoiial skills to turn
this information into distinct nforl<s and publishes and disseniinates these .Woilcs to the
public lt intends to do likewise With the tecords it receives in 1esp`o11`se to this request.

l udicial Watch also is entitled 't'o';a..con.l_p'lete-Waiver of both search ;li`ees and
duplication fees pursuant to 5 .U."S.C. §,552(&)('4)(11\_:)(iii), Un_dei‘ this proyi_s_i_on,_.records:

shall be :i"umished Witho.nt any charge or at a charge
reduced below _.th_efees estab.iished\under clause (i.'i) if
disclosure of thej_'information is in the public interest
because it `is»lil<ely' to contribute significantly to public
understanding of the operations or activities o'l" government
and is not primai'il_.yin'th;e commercial interest o,t`the

. manner 5 U.s.c:._ §1552(11)(4)(81)(111).

-ln addition,.lil:`itecor_ds~ar.e' not produced Wit_h'inftvv'e_nty (2`0) business days, l udicial Watcli
is entitled to a complete .Waiver of search and duplication fees unde'r.tii'eO:l`)E§\`=~`
Govei'n;ment Act 01"`200,7, Section ‘6(b).

Judicial Wat'clris a 501‘(0`)(3), not-for-proiit, educational organization and, by
definition it has no commercial pnipos_e l'ndic'ial `Wzitcb exists to educate the public
about the ope1ations and activities o:l:` gm ei':.nmen`t_. as xifell as to inc1ease public
undeistanding about the importance oi` ethics and the idle of a\\ in aoveininent "l` lie
particulai iecoids ieq`uested,lierein axe sought as pait oi' Judicial '\1& arch s ongoing effoits
to document the operationsand activitics_ot` the federal ;.government' and to educate the

 

.F.reedom `oi"'.lnfoi'mation Act'," `.lannar}" 2 lxv 2009; <llittp:1’!\11‘\11111'whitehouse.go\;'!the;press_
coifticc'!Freedomoilnt`ormationAct;> _

 

425”`i7li1i1'd Sl,,_'$\}»", ’Stiitc 89th \\»"nsltiitgton:,__.l,`){`. 2{)'024~ ;T.el:'(’ZO.'/l) 646-5 l ?2 1115 l_-888>593¢8¢l1‘l2
;l'€;¢i§<: (_2.02§} 646-’51'99 1:1 E,innil: int`<`>'(§j.ludiciat\K-"atc'h_org ~ w\i’\v.ln.dic.ial'Watcii.o:r§

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 7 of 12

1711;;1§ 3 1113

public about these operations and activities O.nce 3 udicial Wa'tch obtains the requested
tecords, it intends to analyze thein‘ and disseminate the results of its analysis as well `as-
the recoids themselves :as 21 special Written report Judicial \1‘1’a1cl1 11"1'11 also educate the

_ publ1c 11a :1'21d1o p1ograms Judicial Wa1cl1 s 121ebs11e and/01 111,11 slcttu amongg otl1e1

outlets lt also 11 ill make the ieeords available to othet members o1tl1e media 01
1esea1clie1s upon lequest. l udicial Watch has a pt 01 en abilit\ to disseminate 1111 oimaticn
obtained through l`-OIA to tile public as demonsnatec_l bv its lon<J-stantling and
continuing public outleacli effoits, including iadio and television ptoo"i '111_13, 11 ebsite_,
newsletter, periodic published reports, public appearances, and other educational
undertakings-1 ` r '

'Gi'ven these clicumstances ,`l udicial `Watch irs entitled to a public interest fee
naivei o':`i both seatch costs and duplication costs Nonetlieless 111 the e\ eat out 1et1ucs4t
`foi a 11aive1 01 seatcli and/‘oi duplication costs is denied Judicial Watch is \_\ illina to pa\
up to 333 50 00 in seaton and;f’ot duplication costs Judicial `-'\-‘\ each ic_q_uests that 11 be
Contacted befote any such costs ate incuried 111 otdei"_ to piioritize se2_11c_l1 and duplication
efforts

ln an effotij to facilitate tecoid pioduct'ion 11itl11n the statutoi\i' time limit ludicial

' XX' atch ts willing to accept documents 111 electronic 101111211 (e.c 0 e~ntail pt li`s) '\Vl icn`

necessai 11 Judicial Watc`h Will also accept 1l1e'1oll1nv production of documents

if you do not untilctstand this ieq_ue_st 01 2111-1 po1tion tlieieof‘. 01 ii von feel non
iequixe clanl`cauon ofthis 1equcs't or an'v portion tlieieoi please contact us itnmediatel\
211202 646 5l72 or tnnllspaw/undicialwatch oig We look iow\atd to iecei\’mn the
1 equested documents and 21 Waive1 01 botlt,.scatch and duplication costs vwithin 111 cnty.

(20) business days Tlianl<,you for your cooperation

'S'incete`ly.,

.4,_.»--' 1 ~~,

~f",rl. rl< :?Z»;z;Z/~¢~»t

T¢§`arn `Mj.llspaw
.ludiciaiWatch ~

 

4125':1`]1§'¥11 St S\.\.'_. Suite 800 \X’¢ismn<rton 13{.'.`2.00732:11:1.".' 2…)2-3)'6’§16,-’5l.?Z_,ot=,fl~'t§§§'é`§-§<)`$-S¢ld`?
l~`\)~s`; §707) (1~1(>~ 1999 l;niail;1111011'1ltalictal\’mtchonv 11>1\11v;lud`1cial\X”atcli.oi‘§»;

 

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 8 of 12

EXHIBIT 2

 

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/1_1 Page 9 of 12

DEPARTMENT OF THE AlR FORCE
HEADQUARTERS, UNETED STATES A|R FORCE
WASH!NGTON, DC

December 16, 2010

HAF/IMIO (FOIA)
1000 Air Force Pentagon
Washington DC 20330-0100

Mr. Tegan Millspaw
Judicial Watch

425 Third St., SW, Suite 800
Washington, DC 20024

info§a}judicialwatch.org
Re: FOIA case 2011-01181-F

Dear Mr. Millspaw;

This is to acknowledge receipt of your November 9, 2010, Freedom of lnformation Act

` request for information relating to the following:

l) All mission taskings for Senate Majority Leader Harry Reid’s travel;

2) All records of costs of operating military aircraft for Maj ority Leader H_arry Reid’s
travel;

3) All passenger manifests (00-2131) for Maj ority Leader Harry Reid (including both
domestic and international travel) and;

4) All travel reports for Majority Leader Harry Reid.

The time frame for this request is from January 2007 to present.

Every effort Will be made to respond in twenty business days if such records exist and
Whether to release or Withhold the requested records under the Freedom of Information Act, 5 U.
S. C. 552. If-We should need additional time, you Will be notified in Writing.

Please direct your questions to Theodore Martin at 703-692-9981 and reference case FOIA
case 2011-01181.

Sincerely
///Signed///

THEODORE C. MARTIN
Freedom of Information Act Disclosure Officer

 

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 10 of 12

v EXHIBIT 3

Case 1:11-cv-00349-R.]L Document 9-1 Filed 03/17/11 Page 11 of 12

DEPARTMENT OF THE AIR FORCE
HEADQUARTERS, UNITED STATES AIR FORCE '
WASHINGTON, DC

 

January'l l, 2011
HAF/IMIO (FOIA)

1000 Air Force Pentagon
Washington DC 2033/0-1000

Mr. Tegan Millspaw
J udicial Watch
425 Third St., SW, Suite 800
Washington, DC 20024

info@judicialwat_ch.org
Re: FOIA 2011-01181-F
Dear Mr. Millspaw;

This is our final response to your November 9, 2010, Freedom of Inforr'nation.Act (FOIA)
request for records relating to the following:

l) All mission taskings for Senate Majority Leader Harry Reid’s travel;

2) All records of costs of operating military aircraft for Majority Leader Harry Reid’s
travel;

3) All passenger manifests (00-2131) for Majority Leader Harry Reid (including both
domestic and international travel) and;

4) All travel reports for Majority Leader Harry Reid, the time frame for this request is
from January 2007 to present.

We conducted a comprehensive search of files Within the Air Force Administrative Assistant
Office and the Office of the Legislative Liaison for records that Would be responsive to your.
request during the time period specified Unfortunately, We Were unable to locate or identify any
responsive records. . '

lf you interpret this “no records” response as an adverse action, you may appeal our decision
by Writing to the Secretary of the Air Force Within 60 days from the date of this letter. If no
appeal is received, or if the appeal is postmarked after the conclusion of this 60-day period, the
appeal may be considered closed., Include your reasons for reconsideration along With a copy of
4 this letter. Mail to:

Secretary of the Air Force
Thru: HAF/H\/IIO (FOlA)
1000 Air Force Pentagon
Washington DC 20330-1000

 

Case 1:11§0\/_-00349-R.JL Document 9-1 Filed 03/17/11 Page 12 of 12

Department of Defense Regulation 5400. 7 indicates fees be assessed for processing this
request; however, the fees are Waived1n this instance.

Sincerely
, Digitally signed by MART_|N ..THEODORE 1026667484

DN: c=US, 0=U..5 Governm§nt, ou=DoD, ou= PK|,
ou=USAF, cn=MARTINTHEODORE102666748_4
Date: 2011. O‘l. 11 15: 27105-05` 00‘
THEODORE C. MARTIN
Freedom of Information Act

Disclosure Officer

